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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:06CR284
                              )
          v.                  )
                              )
ROBERT J. LANDWEHR,           )                      ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court concerning the period

of home confinement to which defendant was sentenced.               The

conditions of home confinement will be revised.              Accordingly,

          IT IS ORDERED that defendant shall participate in the

home confinement program under electronic monitoring for a period

of 6 consecutive months commencing August 3, 2007, or as soon

thereafter as can be arranged by the home confinement specialist.

The defendant shall comply with the provisions of the Home

Confinement Participant Agreement.         Costs of the electronic

monitoring are waived.

          DATED this 2nd day of August, 2007.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
